                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

DEBBIE MALONEY, AMY VEGA, and SALLY) Case No.: 17-cv-1335
CZARNECKI, Individually and on Behalf of All)
Others Similarly Situated,                  ) STIPULATION OF DISMISSAL
                                            )
                                            )
               Plaintiffs,                  )
       vs.                                  )
                                            ) Hon. David E. Jones
MIDLAND CREDIT MANAGEMENT, INC. and)
                                            )
MIDLAND FUNDING, LLC,                       )
                                            )
               Defendants.                  )

       Plaintiffs Debbie Maloney, Amy Vega, and Sally Czarnecki, by counsel, Ademi &

O’Reilly, LLP, and Defendants Midland Credit Management, Inc., and Midland Funding, LLC,

by counsel, Hinshaw & Culbertson, LLP, hereby stipulate, pursuant to Fed. R. Civ. P. 41(a)(1),

that all claims in this action against Defendants Midland Credit Management, Inc., and Midland

Funding, LLC, are dismissed with prejudice and without costs to any party. No certified class

presently exists in this case, no class is impacted by this dismissal, and therefore Rule 23(e) of

the Federal Rules of Civil Procedure does not apply.

Respectfully submitted this 1st day of May 2018.



ADEMI & O’REILLY, LLP                                  HINSHAW & CULBERTSON LLP

/s/_Mark A. Eldridge__                                 /s/ Todd P. Stelter
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                                        1
          Case 2:17-cv-01335-DEJ Filed 05/01/18 Page 1 of 1 Document 19
